Case 2:04-cr-20289-.]DB Document 43 Filed 06/02/05 Page 1 of 2 Page|D 40

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|N THE UN|TED STATES D|STR|CT COURT ~"'---.*. D

FOR THE WESTERN D|STFt|CT OF TENNESSEE 05 JUH __2 PH h
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WESTERN D|V|S|ON

 

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WD .‘;.. L#-\»“- (JIST CT
uNiTEo sTATEs oF AMERicA, ‘ ' “ itt weighing
Piaimiff,
vs.
cR. No. 04-20239~13
BARRY FEacusoN,
Detendant.

 

OFtDEFi ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on |Vlay 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a Lepo_rt
date of Thursdav, June 2;_2005. at 2:00 M, in Courtroom 1. 11th F|oor of the
Federa| Bui|ding, |Vlemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

IT |S SO OF{DEF\ED this da Of ne, 2005.

 

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Eo sTATEs DisTaicT JuocE

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With note 55 ammar 32(!3) FaorP on [¢g ~»IO $/ /

 

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This notice confirms a copy ot` the document docketed as number 43 in
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Honcrable J. Breen
US DISTRICT COURT

